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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



  COMMODITY FUTURES TRADING
  COMMISSION,
                                                     Civil Action No. 23-11808
                         Plaintiff,

           v.                                           ORDER EXTENDING DISCOVERY
                                                                DEADLINES
  TRADERS GLOBAL GROUP INC., et al.,

                         Defendants.


 LINARES, J.

         This matter having been brought before the Special Master by way of a Joint Stipulation

 (ECF No. 213) filed by Defendants Traders Global Group Inc., a New Jersey corporation, d/b/a

 “My Forex Funds,” Traders Global Group Inc., a Canadian business organization, and Murtuza

 Kazmi (“Defendants”) and Plaintiff Commodity Futures Trading Commission (“CFTC”) for an

 Order extending discovery deadlines; and good cause appearing;

         IT IS on this 30th day of August, 2024,

         ORDERED that motion(s) to amend or to add parties must be filed within 140 days after the

 issuance of the District Court ruling on Defendants’ Motion to Dismiss (ECF No. 186), including any

 proceedings under Federal Rule of Civil Procedure 53 (f); and it is further

         ORDERED that fact discovery must be completed within 280 days after the issuance of

 the District Court ruling on Defendants’ Motion to Dismiss (ECF No. 186), including any

 proceedings under Federal Rule of Civil Procedure 53 (f); and it is further

         ORDERED the deadlines set forth in the Parties’ Joint Proposed Rule 26(f) Discovery

 Plan are extended by 140 days from the District Court ruling on Defendants’ Motion to Dismiss



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 (ECF No. 186), including any proceedings under Federal Rule of Civil Procedure 53 (f), and are

 revised to reflect as follows:

              Item                                             Deadline

              Motions to amend or to add parties to be         140 days from the District Court ruling on
              filed by                                         Defendants’ Motion to Dismiss
              Factual discovery to be completed by             280 days from the District Court ruling on
                                                               Defendants’ Motion to Dismiss1
              Plaintiff’s expert report(s) due on              Thirty days after the completion of fact
                                                               discovery
              Defendants’ expert report(s) due on              Thirty days after Plaintiff’s expert
                                                               report(s) is/are served
              Rebuttal expert report(s) due on                 Thirty days after Defendants’ expert
                                                               report(s) is/are served
              Expert depositions to be completed by            Thirty days after rebuttal report(s) is/are
                                                               served
              Dispositive motions to be served within          Sixty
              the following number of days following
              completion of expert discovery

         SO ORDERED.

                                                    __/s/ Jose L. Linares_______________________

                                                    Hon. Jose L. Linares, U.S.D.J. (Ret.)




 1
  The maximum number of interrogatories to be served or depositions to be taken shall be
 provided in the Federal Rules of Civil Procedure, subject to the parties’ agreement, or right to
 seek permission from the Court, to serve additional interrogatories or take additional depositions.



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